










Opinion issued December 1, 2005











In The
Court of Appeals
For The
First District of Texas




NO. 01–05–00208–CV




ELLIE LOFTI, Appellant

V.

GBAK PROPERTIES, INC. AND KHALID KAHN, Appellee




On Appeal from the 270th District Court
Harris County, Texas
Trial Court Cause No. 2004-12398




MEMORANDUM OPINIONAppellant Ellie Lofti has failed to timely file a brief.  See Tex. R. App. P.
38.8(a) (failure of appellant to file brief).  After being notified that this appeal was
subject to dismissal, appellant did not adequately respond.  See Tex. R. App. P.
42.3(b) (allowing involuntary dismissal of case).
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The appeal is dismissed for want of prosecution for failure to timely file a brief. 
All pending motions are denied.
PER CURIAM
Panel consists of Justices Taft, Jennings, and Higley.


